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                      UNITED STATES DISTRICT COURT
            FOR THE Northern District of Illinois − CM/ECF LIVE, Ver 6.1.1
                                 Eastern Division

Ryan Porter
                               Plaintiff,
v.                                                   Case No.: 1:15−cv−11459
                                                     Honorable Manish S. Shah
NBTY, Inc., et al.
                               Defendant.



                         NOTIFICATION OF DOCKET ENTRY



This docket entry was made by the Clerk on Monday, April 25, 2016:


       MINUTE entry before the Honorable Manish S. Shah: The motion for leave to file
an amended complaint [25] is granted. Plaintiffs' amended complaint is due 5/3/16.
Defendants' motion to dismiss is due 5/31/16; response is due 6/28/16; reply is due
7/19/16. The pending motion to dismiss [19] will be terminated as moot with the filing of
an amended complaint. No appearance on the motion is necessary. Status hearing reset to
8/31/16 at 9:30 a.m. Discovery remains stayed. Notices mailed by Judicial Staff. (psm, )




ATTENTION: This notice is being sent pursuant to Rule 77(d) of the Federal Rules of
Civil Procedure or Rule 49(c) of the Federal Rules of Criminal Procedure. It was
generated by CM/ECF, the automated docketing system used to maintain the civil and
criminal dockets of this District. If a minute order or other document is enclosed, please
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